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6                                    UNITED STATES DISTRICT COURT
7
                             DISTRICT OF OREGON – PORTLAND DIVISION
8

9                                                     CASE NO. 6:18-cv-01088
     SHARON TUCKER,
10

11                             Plaintiff,             PLAINTIFF’S COMPLAINT FOR DAMAGES:
12           v.
                                                           1. Violation of the Telephone Consumer
13                                                            Protection Act
     BANK OF AMERICA, N.A., and DOES 1
14   through 100 inclusive,
15                             Defendants.
16
             COMES NOW Plaintiff Sharon Tucker an individual, based on information and belief, to
17
     allege as follows:
18
                                              INTRODUCTION
19
         1. This is an action for damages brought by an individual consumer for Defendant’s
20
     violation of the Telephone Consumer Protection Act 47 U.S.C. §227, et seq. (hereinafter
21
     “TCPA”), which prohibits the use of automated dialing equipment when making calls to
22
     consumers.
23
         2. Plaintiff brings this action against Defendant Bank of America, N.A. (hereinafter
24
     “BANA”) for its abusive and outrageous conduct in connection with debt collection activity.
25      3. While may violations are described below with specificity, this Complaint alleges
26   violations of the statutes cited in their entirety.
27       4. The TCPA was designed to prevent calls like the ones described herein, and to protect
28   the privacy of citizens like Plaintiff, and by enacting the TCPA, Congress intended to give

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     consumers a choice as to how corporate entities may contact them and to prevent the nuisance
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     associated with automated or prerecorded calls.
2

3                                     JURISDICTION & VENUE

4       5. This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337, and 1367, and 47 U.S.C. §

5    227.

6
        6. This venue is proper pursuant to 28 U.S.C. §1391(b).

7
                                    GENERAL ALLEGATIONS
        7.   Plaintiff Sharon Tucker (hereinafter “Plaintiff”) is an individual residing in the state of
8
     Oregon, and is a “debtor.”
9
        8.   At all relevant times herein, Defendant BANA engaged, by the use of mail, email, and
10
     telephone, in the business of collecting a debt from Plaintiff, and a “consumer debt.”
11      9.   At all relevant times, Defendant acted as a “debt collector.”
12      10. Plaintiff had taken out an unsecured loan with BANA in approximately 2016.
13      11. The loan Plaintiff took from Defendant BANA was extended primarily for personal,
14   family or household purposes and is therefore a “debt.”

15
        12. Defendant BANA has been attempting to collect on a debt that originated from
     monetary credit that was extended primarily for personal, family, or household purposes, and
16
     was therefore a “consumer credit transaction.”
17
        13. Because Plaintiff, a natural person allegedly obligated to pay money to Defendant
18
     BANA arising from what Plaintiff is informed and believes was a consumer credit transaction,
19
     the money allegedly owed was a “consumer debt.”
20
        14. Plaintiff is informed and believes that Defendant is one who regularly collects or
21   attempts to collect debts on behalf of themselves, and is therefore a “debt collector.”.
22      15. Plaintiff’s account was an unsecured loan and Plaintiff began making payments on the
23   accounts.
24      16. Plaintiff began making payments on the loan before she became financially unable to

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     keep up with the monthly payments.
        17. Defendant BANA began contacting Plaintiff in February of 2018 to inquire about the
26
     status of the loan and to collect on the payments that were no longer being made.
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         18. Plaintiff retained counsel to assist in dealing with BANA debt and to seek some type
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     of financial relief.
2
         19. Counsel for Plaintiff sent the letter of revocation to BANA on or about March 14,
3
     2018
4
         20. Plaintiff believes her revocation and representation letter was received by BANA
5
     shortly after the March 19, 2018 mailing date.
6        21. Plaintiff informed BANA that she was revoking her consent, if it was ever previously
7    given, to be called on her telephone in March of 2018.
8        22. Plaintiff was frustrated that BANA continued to make unsolicited calls on her cellular
9    telephone after contacting BANA to revoke her consent.

10
         23. Plaintiff denies she ever gave her express consent to be contacted on her cellular
     telephone by automatic dialing machines and pre-recorded messages.
11
         24. Defendant BANA continued to contact Plaintiff between approximately March 30,
12
     2018 – June 19, 2018; the type of contact was through phone calls to Plaintiff on her cellular
13
     telephone.
14
         25. Despite notice being sent Defendant continued to contact Plaintiff on her cellular
15
     telephone regarding collection of her outstanding debt.
16       26. BANA ignored Plaintiff’s letter of representation and continued to contact her for at
17   least two months following receipt of Plaintiff’s letter.
18       27. Despite being aware of Plaintiff’s March 14, 2018 revocation BANA continued to
19   contact Plaintiff on her cellular telephone.

20
         28. BANA’s calls were frequent in nature and continued despite receiving written
     confirmation that she was revoking any consent that may have been previously given to be
21
     called on her cellular telephone.
22
                                         FIRST CAUSE OF ACTION
23                                        (Violation of the TCPA)
                                               (47 USC § 227)
24
                                     (Against Defendant and Does 1-100)
25
         29. Plaintiff realleges and incorporates herein the allegation in each and every paragraph
26
     above as though fully set forth herein.
27       30. Since at least February of 2018 Defendant started calling Plaintiff’s cellular telephone
28   requesting that payment be made on the accounts Plaintiff held with Defendant.
                                                       3
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        31. Plaintiff informed Defendant that she was revoking consent to be contacted by BANA
1
     in March of 2018.
2
        32. BANA continued to call Plaintiff frequently since Plaintiff withdrew her consent to be
3
     contacted by an automatic dialing machine.
4
        33. Defendant would contact Plaintiff frequently regarding payment on the accounts.
5
        34. Defendant placed the above cited calls using an artificial or prerecorded voice to deliver
6    the collection messages without Plaintiff’s prior express consent.
7       35. Defendant contacted Plaintiff on at least 104 (one hundred and four) separate occasions
8    after Plaintiff informed Defendant she did not wish to be contacted on her cellular telephone
9    and withdrew any prior consent that may have been given.

10
        36. All calls placed by Defendant to Plaintiff utilized an “automatic telephone dialing
     system” as defined by 47 U.S.C. §227(a)(1).
11
        37. These calls were made to Plaintiff’s cellular telephone and were not calls for an
12
     emergency purposed as defined by 47 U.S.C. §227(b)(1)(B).
13
        38. These telephone calls by Defendant, or its agent, violated 47 U.S.C. §227(b)(1)(B).
14

15                                      PRAYER FOR RELIEF

16   WHEREFORE, Plaintiff prays for judgment as follows:

17
                a. An award of statutory damages of $1,500.00 pursuant to 47 U.S.C.
                    §227(b)(3)(C) for each and every violation.
18
                b. Pursuant to 47 U.S.C. §227(b)(3)(A), injunctive relief prohibiting such conduct
19
                    in the future.
20
                c. Pursuant to 15 U.S.C. 1692(k) both actual damages and statutory damages in an
21
                    amount to be proven at trial.
22
                                                          SAGARIA LAW, P.C.
23   Dated: June 21, 2018                           By:   /s/ Kyle Schumacher
                                                          Kyle Schumacher
24                                                        Attorneys for Plaintiff
25
                                     DEMAND FOR JURY TRIAL
26
            Plaintiff hereby demands trial of this matter by jury.
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                                                SAGARIA LAW, P.C.
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2    Dated: June 21, 2018                       /s/ Kyle Schumacher
                                                Kyle Schumacher
3                                               Attorneys for Plaintiff
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